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U'NITED S'I‘ATES OF AMERICA,
Plaintiff,
vs. CR. NO. 04-20417-Ma

ANTHONY TOWNER ,

Defendant.

 

ORDER. ON CONTINUANCE AND SPECIFYING PER.IOD OF EXCLUDABLE DELAY

 

This cause came on for a suppression hearing on August 4,
2005. Defense Counsel requested a continuance of the present trial
date in order to allow for additional preparation in the case and
to allow for the disposition of the pending Motion to Suppress.

The Court granted the request and continued the trial date to
the rotation docket beginning October 3, 2005 at 9:30 a.m., with a
report date of Friday, September 23, 2005 at 2:00 p.m.

The period from August 4, 2005 through October 14, 2005 is
excludable under 18 U.S.C. §§ 3161(h)(8)(B)(iv) and 316l(h)(l)(F)
because the interests of justice in allowing additional time to
prepare and the need to dispose of the pending motion outweigh the
need for a speedy trial.

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day of August, 2005.

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IT IS SO ORDERED this

 

SAMUEL H. MAYS, JR.
This docL ment entered on the docket Sheet in corrpn|lql%z`§n STATES DISTRICT JUDGE

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Notice of Distribution

ThiS notice confirms a copy cf the document docketed as number 57 in
case 2:04-CR-20417 Was distributed by faX, mail, or direct printing on
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Honcrable Samuel Mays
US DISTRICT COURT

